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United States Department of Justice
United States Attorney's Office
Western District of Texas - El Paso Division

LAN MARTINEZ MANNA TOO Le. San Antonio ive, Suite 200 Phone: (915) 534-6884
ASSISTANT UNITED STATES ATTORNEY Ll Paso. Texas “990 feat aster tuscloy 2eay

February 21. 2020

VIA HAND-DELIVERY

David A. Lane

Killmer, Lane & Newman, LLP
1543 Champa Street, Suite 400
The Odd Fellows Hall

Denver, CO 80202

Rebecca L. Hudsmith

Office of the federal Public Defender for the
Western and Middle Districts of Louisiana
102 Versailles Boulevard, Suite 816
Latayette, LA 70501

Louis F. Lopez, Jr.

Attorney at Law

416 N. Stanton Fourth Floor, Suite 400
EI Paso, Texas 7990]

RE: United States v. Patrick Wood Crusius
Case Number EP-20-CR-00389-DCG-1
UNDER PROTECTIVE ORDER (ECF DOC. 39)

Dear Mr. Lane, Ms. Hudsmith, and Mr. Lopez:

Pursuant to our discussions and your request for discovery. please find material bates
stamped PWC_00000001 through PWC_00012545 located on the secure hard drive accompanying
this letter: it consists of the following files and sub-tiles:

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lame Date mecdified Se
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The United States Attorney's Office (USAO) ~ El Paso Division is clecting to produce
discovery beyond what is required under the circumstances of the case but is not committing to
any discovery production beyond the discovery obligations set forth in Fed.R.Crim.16. Pursuant
to Rule 16(b). The Government requests reciprocal discovery.

In addition. material provided to the USAO by the state prosecution is also being produced
to you on this date on the same accompanying hard drive: it consists of the following files:

Attached to this letter are spreadsheets detailing the contents of the state production labeled as
“Attachment 1” and “Attachment 2.~

In addition to the hard drive, a cipher key will be provided under separate cover to
access the hard drive. Please safeguard the key, as the hard drive is inoperable without it.

As you review the discovery. you will note that some photocopies of actual DVDs/CDs
were scanned and bates stamped. ‘lhe production may also contain an image of a slip sheet noting
to refer to the native file. In these instances. refer to the corresponding bates numbers located in
the native folders contained in this production.

In order to open the four video clip attachments identified as bates stamped
PWC_00002874 through PWC_00002877

) you must first install CODEC which is available on the DVD provided in bates
PWC_00012533.

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Please note that a Walmart surveillance video of the week aficr August 3, 2019 is in
existence. Neither the FBI nor the USAO have a copy of this video: you may contact Walmart if
you wish to obtain it.

Afier you have downloaded this discovery production to your device. please return the hard

drive, without the cipher key. to the USAO. The hard drive will be reformatted, all data deleted.
and a virus scan performed before new discovery is uploaded and sent to you.

The point of contact for questions regarding accessing the discovery provided is AUSA
Patricia J. Acosta: she may be reached at (915) 534-3404. If you wish to obtain the native file of
any of the items produced, contact AUSA Acosta: they have been preserved.

A copy of the Protective Order (12CF Doc, 39) is attached for your convenience. In addition,
enclosed please find a copy of the “Acknowledgement of Protective Order” to be executed in
accordance with the court's order.

Sincerely.

JOHN F. BASH
UNITED STATES ATTORNEY

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Bya gy _ _
an Martinez Hanna

Assistant U.S. Attorney

eceived by: ale:
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Case 3:20-cr-00389-DCG Document 26 Filed Salt 420 Page 13 0647

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
UNITED STATES OF AMERICA, §
§
Plaintiff, §
§ CRIMINAL NO. EP-20-CR-0389-DCG
v. §
§
PATRICK WOOD CRUSIUS, §
§
Defendant. §

Acknowledgement of Protective Order

I certify that I have been notified of the existence and terms of the document entitled
“Protective Order Governing Discovery” in the above titled and numbered case. I further certify

that I understand the terms placed on the discovery in this case as detailed in the Protective Order.

Signed this day of , 20

Signature

Printed Name

Employer

Employment Title
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
UNITED STATES OF AMERICA, §
§
Plaintiff, §
§ CRIMINAL NO. EP-20-CR-0389-DCG
y. §
§
PATRICK WOOD CRUSIUS, §
§
‘Defendant. §

PROT ER RNING DISCOVERY

Upon the motion of the Government, and for good cause shown, pursuant to Fed. R. Crim.
P. 16(d) and 18 U.S.C. § 3771(a)(1) and (8), it is hereby ORDERED:

1. This Protective Order governs all discovery material in any format (written or
electronic) that is produced by the Government in discovery in the above captioned case.

2. Discovery in this case is voluminous and many of these materials and documents
include personally identifiable information (PII) such as Social Security numbers, dates of birth,
addresses, financial account numbers, and other personal identifiers. Included in the discovery are
crime scene photos, as well as law enforcement sensitive materials.

3. Disclosure of discovery material will be restricted to the state prosecution team, the
federal defense team and the state defense team (“authorized persons”) with the limited exceptions
discussed below. “State prosecution team” shall be limited to employees of the 34" Judicial
District, District Attorney’s Office and any experts retained by same. “Defense team” shall be
limited to criminal attorneys of record for the Defendant and any of the following people working
on this matter under the supervision of the criminal attorneys of record: attorneys, investigators,

paralegals, law clerks, testifying and consulting experts, and legal assistants. For purposes of this
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Order, “defense team” does not include the Defendant. Members of the defense team shall not
disclose discovery materials or their contents, directly or indirectly, to any persons outside of the
defense team, except as specifically set forth below.

4, The state prosecution team shall inform any one of the state criminal defense attorneys
of record to whom disclosure of discovery material obtained from the United States Attorney’s
Office — El Paso Division is made of the existence and terms of this Protective Order and obtain a
signed acknowledgement.

5. Defendant’s attorneys shall inform any member of the defense team to whom
disclosure of discovery material is made of the existence and terms of this Protective Order and
obtain a signed acknowledgment by the defense team member.

6. Defendant’s attorneys shall not disclose the state discovery to a third party unless this
court, having considered the privacy and security interests of victims and witnesses, determines
that there is good cause for the disclosure. If this court grants disclosure of the state discovery, the
defense team shall redact personally identifiable information (PIT) before sharing the state
discovery with the Defendant or a witness.

7. Members of the defense team shall retain custody of all copies of the discovery
material, except as discussed below with regard to Defendant review. Members of the defense
team shall use discovery material only for the purpose of preparing a defense to the charges in this
action. Members of the defense team may review the discovery material with Defendant and
witnesses for purposes of trial preparation, provided that witnesses may review the material only
in the presence of a member of the defense team and may not take notes regarding the content of

the discovery material. These restrictions, however, do not apply to expert witnesses who may

need to independently review and retain some discovery in order to do their jobs. In the event that

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an expert witness needs to retain discovery documents as part of his or her preparation, said expert
must sign a confidentiality agreement making them subject to the authority of this Court if they
violate it. At the conclusion of their expert role in the case, all such material must be returned to
defense counsel.

8. Defense counsel may provide discovery to Defendant, subject to the following

conditions:

a) Defendant shall use discovery material only for the purpose of assisting the defense
team with preparing a defense to the charges in this action;

b) Defendant may not provide copies of the discovery material to any third parties and
may only review the discovery material either alone or in the presence of the defense

team;

c) Defendant shall only be permitted to review his copy of the discovery material in the
courthouse itself, or facilities approved by the detention center detained at for this
purpose, on detention center-approved computers, or in hard copies maintained by the
detention center staff while not in use by the Defendant; and

d) Defendant shall not be permitted to maintain a copy of the discovery material, or any
notes made while reviewing that material, in his cell.

9. To the extent any material is produced by the Government to Defendant or Defendant’s
counsel by mistake, the Government shall have the right to request the return of the material and
shall do so in writing. Within five days of the receipt of such a request, the defense team shall
return all such material if in hard copy, and in the case of electronic materials, shall certify in
writing that all copies of the specified material have been deleted from any location in which the
material was stored,

10. Any discovery material that the defense team files with the Court in connection with

pre-trial motions, trial, or other matters before the Court, shall be filed under seal and shall remain

sealed until otherwise ordered by the Court.

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11. This Protective Order may be modified, as necessary, by filing with the Court a
Stipulated Order Modifying the. Protective Order or by order of the Court after service of the
defense motion upon the Government and hearing with the court. After obtaining a modified order
from the Court, any discovery material the defense team files with any Court or tribunal in
connection with post-conviction matters, or any matters before any Court or tribunal, shall be filed

under seal and shall remain sealed until otherwise ordered by the Court.

Signed this / pn day of February, 2020.
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HONORABLE DAVII GUADERRAMA
HORORA STATES DISTRICT COURT JUDGE

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HAND DELIVERY SLIP

DATE: October 3, 2019

FROM: _ Rebecca Tarango
Assistant District Attorney

TO: United States Attorney’s Office

SUBJECT:  Crusius, Patrick
20190D04878
EPPD 19-215079

ITEMS: _ 1 hard drive (Provided by District Attorney’s Office. Bar Code No. 183337)
Bates stamped: 000001-012989

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Officers may continue to create additional supplements or reports during the pendency of the case. While we will
attempt to provide hardcopies, please refer to the District Attomey Portal for the most up-to-date reports.

Pursuant to article 39.14(f) of the Code of Criminal Procedure, you or your agent “may allow a defendant,
witness, or prospective witness to view the information provided under this article, but may not allow that person
to have copies of the information provided, other than a copy of the witness's own statement.”

Additionally, statements and records provided have not been redacted. Before allowing any person to view the
statement or records of another, you or your agent “shall redact the address, telephone number, driver's license
number, social security number, date of birth, and any bank account or other identifying numbers contained in the
document or witness statement.” Art. 39.14(f).

Numerous grand jury requests are in the file and are not made a part of this discovery, you are free to review the
file boxes at your convenience.

IF THERE ARE ANY PROBLEMS WITH THE DISK PLEASE CONTACT US AS SOON AS POSSIBLE — Rebecca Tarango
(546-2059, EXT. 3340)

RECEIVED BY:

DATE: TIME:

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HAND DELIVERY SLIP

January 30, 2020

FROM: _ Rebecca Tarango
Assistant District Attorney

TO: United States Attorney’s Office
SUBJECT: Crusius, Patrick
20190D04878
EPPD 19-215079

ITEMS: _ 1 hard drive provided by District Attorney’s Office. (Serial No. WXH1A59LZH6N)

Attachment
2

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document or witness statement.” Art. 39.1 4(f).

IF THERE ARE ANY PROBLEMS WITH THE DISK PLEASE CONTACT US AS SOON AS POSSIBLE — Rebecca Tarango
(546-2059, EXT, 3340)

RECEIVED BY:

DATE: TIME:

